Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                 #2 Page 1 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                 #2 Page 2 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                 #2 Page 3 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                 #2 Page 4 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                 #2 Page 5 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                 #2 Page 6 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                 #2 Page 7 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                 #2 Page 8 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                 #2 Page 9 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                #2 Page 10 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                #2 Page 11 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                #2 Page 12 of 13
Case 20-00272   Doc 23-2   Filed 11/19/20 Entered 11/19/20 16:19:47   Desc Exhibit
                                #2 Page 13 of 13
